Case 24-10440-amc        Doc 41     Filed 03/01/24 Entered 03/04/24 07:01:31              Desc Main
                                    Document Page 1 of 1



                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                             ) Chapter 11
                                                   )
Jignesh Pandya and Mital Pandya,                   ) Case No. 24-10440 (AMC)
                                                   )
                       Debtors.                    )
                                                   )

                         ORDER FOR ADMISSION PRO HAC VICE
                       1st day of __________
         AND NOW, this ____       March      , 2024, upon consideration of the Motion for

Pro Hac Vice Admission of Shelly A. DeRousse, it is hereby ORDERED that the motion is

GRANTED and that Shelly A. DeRousse is admitted pro hac vice to the bar of this Court to

represent US Foods, Inc., a party in interest herein, in this case and any present or future contested

matter or adversary proceeding arising in or related to this case.


                                         BY THE COURT


                                         ASHELY M. CHAN
                                         UNITED STATES BANKRUPTCY JUDGE




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